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                                                                  Ex. A-4
                            Justin Strauss, et al. v. Islamic Republic of Iran, No. 1:22-cv-10823 (GBD) (SN)

                                             (Alphabetically by Last Name of 9/11 Decedent)

                       DECEDENT                                PLAINTIFF                             Relationship   SOLATIUM
          DECEDENT                 DECEDENT       PLAINTIFF                PLAINTIFF     PLAINTIFF
                        Middle                                  Middle                                 to 9/11      DAMAGES
          First Name               Last Name      First Name               Last Name       Suffix
                         Name                                    Name                                 Decedent       AMOUNT

    1.      Carolyn      Anne        Beug          Nicholas     Dorian       Mayer                      Child         $8,500,000.00

    2.      Carolyn      Anne        Beug           Lauren       Paula     Mayer-Beug                   Child         $8,500,000.00

                                                                           Mayer-Beug-
    3.      Carolyn      Anne        Beug          Lindsey       Erin                                   Child         $8,500,000.00
                                                                             Wood

    4.       Jose       Manuel      Cardona         Joshua      Manuel      Cardona                     Child         $8,500,000.00

    5.       Jose       Manuel      Cardona        Paulina        C.        Cardona                    Spouse        $12,500,000.00

    6.     Michael      Angelo    Diaz-Piedra      Michael     Maurice     Diaz-Piedra      IV          Child         $8,500,000.00

    7.     Michael      Angelo    Diaz-Piedra      Thomas        John      Diaz-Piedra                  Child         $8,500,000.00

    8.     Michael      Angelo    Diaz-Piedra      Monique      Kristine    Somervell                   Child         $8,500,000.00

                                                                           Weightman
    9.     Michael      Angelo    Diaz-Piedra       Kelly       Marie                                  Spouse        $12,500,000.00
                                                                           Diaz-Piedra

    10.      Scott       Alan       Powell          Casey      Maurice        Brent                     Child         $8,500,000.00

                                                                                                       Parent
    11.     Walter      Edward      Weaver           Joan        Claire      Weaver                                   $8,500,000.00
                                                                                                     (Deceased)

    12.     Walter      Edward      Weaver         Michael     Anthony       Weaver                    Sibling        $4,250,000.00



          TOTAL                                                                                                     $105,750,000.00




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